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                                                                                       FILED
                                                                                     U.S. DISTRICT COURT
                                                                                 EASTERN DISTRICT ARKANSAS
                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF ARKANSAS                           APR 13 2018
                                   JONESBORO DIVISION
                                                                           JAMES W. ~OR~LERK
                                                                           By:       I!_,            'f{E
EDWARD WILLIAMS,
an individual,
                                                                                   (T          '     (/ERK
       Plaintiff,
                                                       CASE NO:
vs.

MAGNESS OIL COMPANY

       Defendant.
                                                         This case assigned to District Judge     /JJtt,rSll/l_tL
                                                         and to Magistrate Judge          ~f.EK.£
                                           COMPLAINT

       Plaintiff, EDWARD WILLIAMS ("Plaintiff') by and through the undersigned counsel,

hereby files this Complaint and sues MAGNESS OIL COMPANY. for injunctive relief, attorney's

fees and costs pursuant to 42U.S.C.§12181 et seq., ("Americans with Disabilities Act" or "ADA")

and alleges:

                                 JURISDICTION AND PARTIES

       1.        This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §12181 et seq., (hereinafter referred to as the "ADA").

This Court is vested with original jurisdiction under 28 U.S.C. Sections 1331 and 1343.

       2.        Venue is proper in this Court, the Eastern District of Arkansas pursuant to 28 U.S.C.

§ 1391 (B) and Local Rules of the United States District Court for the Eastern District of Arkansas.

       3.        Plaintiff, EDWARD WILLIAMS (hereinafter referred to as "Williams") is a

resident of Wynne, Arkansas and is a qualified individual with a disability under the ADA. Williams

suffers from what constitutes a "qualified disability" under the Americans with Disabilities Act of

1990, ("ADA") and all other applicable Federal statutes and regulations to the extent that he suffers
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from spinal steno sis and nerve damage which substantially limits his ability to walk, requiring that he

use a wheelchair for mobility, and also limiting the use of his upper extremities. Prior to instituting

the instant action, Williams visited the Defendant's premises at issue in this matter, and was denied

full, safe and equal access to the subject property of Defendant due to its lack of compliance with the

ADA. Williams continues to desire and intends to visit the Defendant's premises but continues to be

denied full, safe and equal access due to the barriers to access that continue to exist.

        4.     The Defendant, MAGNES OIL COMPANY is a corporation registered to do business

and, in fact, conducting business in the State of Arkansas. Upon information and belief, MAGNES

OIL COMPANY (hereinafter referred to as "MOC") is the owner, lessee and/or operator of the real

property and improvements that is the subject of this action, specifically: Wynne Truck Stop located

at 700 US Hwy 64 in Wynne, Arkansas (hereinafter referred to as "Gas Station").

        5.     All events giving rise to this lawsuit occurred in the Eastern District of Arkansas.

                            COUNT I - VIOLATION OF THE ADA

        6.     On or about July 26, 1990, Congress enacted the Americans with Disabilities Act

("ADA"), 42 U.S.C. §12101 et seq. Commercial enterprises were provided one and a half years

from enactment of the statute to implement its requirements. The effective date of Title III of the

ADA was January 26, 1992. 42 U.S.C. §12181; 20 C.F.R. §36.508 (A).

       7.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the Gas Station owned by

MOC is a place of public accommodation in that it is Gas Station operated by a private entity that

provides goods and services to the public.

        8.     Defendant, MOC, has discriminated and continues to discriminate against the

Plaintiff, and others who are similarly situated, by denying access to, and full, safe and equal


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enjoyment of goods, services, facilities, privileges, advantages and/or accommodations at the Gas

Station in derogation of 42 U.S.C §12101 et seq.

        9.      The Plaintiff has been unable to and continues to be unable to enjoy access to, and the

benefits of the services offered at Gas Station owned by MOC. Prior to the filing of this lawsuit,

Plaintiff visited the Gas Station at issue in this lawsuit and was denied access to the benefits,

accommodations and services of the Defendant's premises and therefore suffered an injury in fact as

a result of the barriers listed in Paragraph 11, below, that the Plaintiff personally encountered. In

addition, Plaintiff continues to desire and intends to visit the Gas Station, but continues to be injured

in that he is unable to and continues to be discriminated against due to the barriers to access which

remain at the Gas Station in violation of the ADA. Williams has now and continues to have

reasonable grounds for believing that he has been and will be discriminated against because of the

Defendant's continuing deliberate and knowing violations of the ADA.

        10.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991, the Department

of Justice, Office of the Attorney General, promulgated Federal Regulations to implement the

requirements of the ADA 28 C.F.R. Part 36.

        11.     MOC is in violation of 42 U.S.C. § 12181, et seq,. 28 C.F.R. §36.304 and 28 C.F.R.

§36.401, et seq. and is discriminating against the Plaintiff as a result of inter alia, the following

specific violations:

                i.      The men's restroom has no accessible sign.age;

                11.     There is insufficient maneuvering space for a wheelchair user on both
                        sides of the men's restroom entry doors;

                111.    In the men's restroom there is insufficient maneuvering space in the
                        accessible toilet compartment for a wheelchair user, the toilet stall entry


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                       door is too narrow for a wheelchair user, and the grab bars are not long
                       enough;

                iv.    In the men's restroom, the paper towel dispenser is out ofreach for a
                       wheelchair user, there is insufficient knee space at the lavatory for a
                       wheelchair user, and the faucet controls require tight grasping and twisting
                       of the wrist to operate;

                v.     The mirror is too high for a wheelchair user;

                vi.    In the men's restroom, there is no lowered urinal;

                vii.   The check-out counter is too high for a wheelchair user;

                vni.   There is no wheelchair accessible table in the eating area;

                1x.    The controls on the gas pumps are too high and out of reach for a
                       wheelchair user.

        12.     There are other current barriers to access and violations of the ADA at the Gas Station

owned and operated by MOC that were not specifically identified herein as the Plaintiff is not

required to engage in a futile gesture pursuant to 28 C.F .R. Part 36, §36.501 and, as such, only once a

full inspection is performed by Plaintiff or Plaintiffs representatives can all said violations be

identified.

        13.     To date, the barriers to access and other violations of the ADA still exist and have not

been remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

        14.     Plaintiff has been obligated to retain undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorney's fees, costs and

expenses paid by MOC pursuant to 42 U.S.C. §12205.

        15.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

Plaintiffs injunctive relief, including an Order to alter the subject facilities to make them readily


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accessible to, and useable by, individuals with disabilities to the extent required by the ADA, and

closing the subject facilities until the requisite modifications are completed.

       WHEREFORE, the Plaintiff demands judgment against MOC and requests the following

injunctive and declaratory relief:

               A.      That the Court declare that the property owned and administered by
                       Defendant is violative of the ADA;

               B.      That the Court enter an Order directing Defendant to alter its facilities
                       to make them accessible to and useable by individuals with disabilities
                       to the full extent required by Title III of the ADA;

               C.      That the Court enter an Order directing Defendant to evaluate and
                       neutralize its policies and procedures towards persons with disabilities
                       for such reasonable time so as to allow them to undertake and complete
                       corrective procedures;

               D.      That the Court award reasonable attorney's fees, costs (including expert
                       fees) and other expenses of suit, to the Plaintiff; and

               E.      That the Court award such other and further relief as it deems
                       necessary, just and proper.

       Dated this q+.day of April, 2018.


                                                      Respectfully submitted,




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                                                      Edwfilru:;
                                                      By:

                                                      Bar No.: ASB-1564-L54E

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